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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

ALLAN ROMERO CIVIL ACTION
Plaintiff

VS.

ACADEMY COLLECTION SERVICES, NO. 08-4472
INC.
Defendant

 

 

STIPULATION OF DISMISSAL
AND NOW, this 30th day of April, 2009, it is hereby Stipulated and Agreed by
and between counsel for plaintiff and counsel for defendant in the above captioned matter

that the above captioned matter be dismissed with prejudice.

Warren & Vullings, LLP

BY:__/s/ Bruce K. Warren
Bruce K. Warren, Esquire
Attorney for Plaintiff

Marshall Dennehey Warner Coleman & Goggin

Dean H. Malik, Esquire
Attorney for Defendant
